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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 13-646V
                                       Filed: July 11, 2014
                                       Not for Publication


*************************************
LISA SABEL,                                 *
                                            *
               Petitioner,                  *   Attorneys’ fees and costs decision based on
                                            *   stipulation of fact
 v.                                         *
                                            *
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
               Respondent.                  *
                                            *
*************************************
Scott B. Taylor, Milwaukee, WI, for petitioner.
Gordon E. Shemin, Washington, DC, for respondent.

MILLMAN, Special Master


                DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

       On July 10, 2014, the parties filed a stipulation of facts in which they agreed on an
appropriate amount for attorneys’ fees and costs in this case.

        In accordance with the General Order #9 requirement, petitioner asserts that she did not
incur any out-of-pocket expenses in pursuit of her petition. Petitioner submitted her request for
attorneys’ fees and costs to respondent. During informal discussions, respondent raised
objections to certain items in petitioner’s application. Based on these objections, petitioner

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to redact such information prior to the document=s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
redact such material from public access.
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amends her request for reimbursement for attorneys’ fees and costs to $16,774.26. Respondent
does not object to this amount. The undersigned finds this amount to be reasonable.
Accordingly, the court awards $16,774.26, representing reimbursement for attorneys’ fees and
costs. The award shall be in the form of a check made payable jointly to petitioner and Urban &
Taylor, S.C. in the amount of $16,744.26.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: July 11, 2014                                                               s/ Laura D. Millman
                                                                                      Laura D. Millman
                                                                                       Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
